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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 IN RE WATTSTOCK, LLC,

 Debtor.                                           Case No. 21-31488-sgj11V
                                                   Chapter 11
                                                   Subchapter V
 WATTSTOCK LLC,
                                                   Adv. No. 21-03083-sgj
 Plaintiff,
                                                   Removed from the District Court of
 v.                                                Dallas County, Texas, 116th Judicial
                                                   District
 ALTA POWER LLC,
                                                   Case No. DC-20-08331
 Defendant, Counter-Plaintiff, and Third-
 Party Plaintiff,

 v.

 WATTSTOCK LLC,

           Counter-Defendant, and

 GENERAL ELECTRIC
 INTERNATIONAL, INC., d/b/a GE
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POWER SERVICES,

       Third-Party Defendant.



 GENERAL ELECTRIC INTERNATIONAL INC.’S BRIEF IN SUPPORT OF 12(C)
MOTION FOR JUDGMENT ON THE PLEADINGS ON ALTA POWER LLC’S THIRD-
                        PARTY PETITION
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                                    I.      INTRODUCTION

       Alta Power LLC (“Alta”) entered into contracts with WattStock LLC (“WattStock”) for

used aeroderivative gas turbines that Alta planned to install at “peaker plants” to generate power

during “peak demand,” when the energy grid in Texas has more demand than supply. Alta alleges

that it sought to be the “the first mover in this niche market.” Its plan ultimately failed.

       General Electric International Inc. (“GE”) is a supplier of aeroderivative gas turbines,

including the LM6000s that Alta determined were best suited for its plan to tap into the niche

peaker plant market in Texas. Alta admits that GE was “not a named party” to any agreement with

Alta, and “[a]t GE[’s] insistence, Alta Power contracted directly with WattStock” for turbines.

Nonetheless, Alta sued GE for breach of the Alta-WattStock contracts. Alta claims GE is

responsible any breach by WattStock because GE and WattStock were in a joint venture,

partnership, or agency relationship. But Alta’s contract claims against GE fail as a matter of law

for two reasons.

       First, Alta does not and cannot allege any facts to support its joint venture and partnership

claims under Texas law. Instead, it hangs its hat on a handful of allegations that GE and WattStock

referred to themselves as “partners.” But the Texas Supreme Court has made clear that business

entities that colloquially refer to themselves as “partners” do not create a legally binding joint

venture or partnership absent some other conduct manifesting an intent to do so. Alta does not

allege that GE or WattStock took any of the actions required by Texas law to express an intent to

form a joint venture or partnership.

       Second, Alta does not and cannot allege the type of control necessary to establish an agency

relationship between GE and WattStock. At most, Alta alleges in conclusory fashion that “GE

controlled WattStock” and was in “complete control” of the relationship. But even that threadbare

conclusion is contradicted by Alta’s admission that the contract between GE and WattStock

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expressly states that the parties “do not intend” to create “any partnership” or “agency,” and

“[n]either party shall have the right or power to bind the other party without the written consent of

such other party.” APP25.

       In addition to its legally defective contract claims, WattStock also asserts claims against

GE for unjust enrichment, fraud, and negligent misrepresentation. But these tag-along tort claims

are not plausibly pleaded—Alta’s third-party complaint is peppered with group pleadings that

lump GE and WattStock together and fall far short of alleging facts with sufficient particularity to

state fraud-based claims against GE under Rule 9(b)’s heightened pleading standard. Moreover,

Alta could not, as a matter of law, have justifiably relied on any oral statements by GE because

Alta’s contracts expressly disclaim any such reliance.

       All of Alta’s claims should be dismissed under Rule 12(c). If any of Alta’s claims survive,

however, its request for consequential damages should be dismissed, and struck from its complaint,

for a separate and independent reason: The very contracts that Alta seeks to enforce against GE

plainly bar any claim for consequential damages against any “party, their respective officers,

directors, partners, employees, representatives, contractors or subcontractors.” The parties should

not be forced to litigate a claim for consequential damages that Alta contractually agreed to waive.

                              II.     FACTUAL BACKGROUND

       GE manufactures and sells aeroderivative power generation equipment—gas turbines

(called “aeroderivatives” because they are derived from engines that power aircraft) and their

associated “packages,” which include associated equipment necessary to generate electricity.

APP32.. Aeroderivative gas turbines have niche value in the energy market because they can be

deployed quickly to meet excess power demands when the energy grid is strained. APP31. In

June 2017, WattStock and GE entered into a Memorandum of Understanding (“MOU”) for GE to

provide WattStock with parts, engineering, and related services for used GE aeroderivative gas

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turbines, which WattStock would proceed to sell to their ultimate users. APP22.

       Alta alleges that it decided to develop a business plan to purchase such used gas turbines

as power production equipment in April 2018. APP28. Alta planned to use these turbines to

produce electrical power that it would market to Texas consumers and that its goal depended upon

it being a “first mover” in the Texas market. APP32. Alta alleges it recognized that this process

was “complex” and posed “high entry costs” as it needed to locate used gas turbines around the

world successfully, obtain sufficient financing, timely negotiate prices within its budget and

acquire the turbines, obtain any necessary refurbishing, and identify strategic areas within Texas

for energy plants—all before being outstripped by competitors. APP32.

       Alta alleges that it met with potential suppliers, including WattStock, GE, and other

companies that refurbished used aeroderivative gas turbines, and ultimately signed contracts with

WattStock, including a February 2019 Master Agreement and a December 2019 Limited Notice

to Proceed (“LNTP”). APP72–APP131; APP37; APP45.               Both Alta and WattStock were

represented by counsel in connection with the negotiation and execution of those agreements. E.g.,

APP81. Under the terms of the agreements, WattStock was obligated to locate used gas turbine

equipment packages available for purchase and refurbish the necessary equipment. APP81.

Although GE refurbished gas turbines for WattStock under the preexisting MOU, GE was not a

party to the Alta-WattStock agreements. See generally APP72; APP36. Indeed, Alta alleges that

GE expressly refused to enter a contract with Alta and instead “insist[ed]” that Alta contract

directly with WattStock. APP36.

       Alta’s relationship with WattStock unfortunately soured. Alta and WattStock repeatedly

disagreed over the propriety of “mark up” prices, which Alta refused to pay. APP40. Alta also

alleges that it did not anticipate third-party sellers of the used turbines would demand that Alta



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reimburse them for certain termination fees—which it claims WattStock failed to list in the

purchase prices. APP38–APP39. During this same period, Alta was embattled in threatened

trademark litigation by a competitor that allegedly led to a loss in critical financing. Id. ¶¶ 79–81.

Alta’s business plan ultimately failed.

       In July 2020, WattStock sued Alta in Texas state court for breach of contract, alleging that

Alta had repeatedly failed to obtain project financing or adhere to closing deadlines, failed to pay

amounts owed to WattStock under their agreements, and terminated their agreements in June 2020

without cause. APP65. Alta later filed an amended answer and third-party petition, asserting

counterclaims against WattStock and claims against GE for breach of contract, unjust enrichment,

fraud, and negligent misrepresentation. See generally APP27–APP55. GE answered and filed a

Rule 91(a) motion seeking dismissal on the basis that Alta had not stated claims under Texas’s

generous pleading standard. The state court denied GE’s motion.

       On August 17, 2021, WattStock filed a petition under Chapter 11 of Title 11 of the United

States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Northern

District of Texas (Case No. 21-31488), and the state court proceedings were automatically

stayed. On November 9, 2021, WattStock removed this matter to the United States District Court

for the Northern District of Texas, which referred the matter to the Bankruptcy Court pursuant to

the standing order of reference. Alta filed a motion to withdraw the reference, which remains

pending before the District Court (Case No. 3:21cv03183). GE now files its 12(c) motion for

judgment on the pleadings seeking judgment on all of Alta’s claims against it.

                                  III.    LEGAL STANDARD

     Where, as here, a party challenges the sufficiency of a complaint after filing an answer, courts

treat such motions as motions for judgment on the pleadings. See Young v. City of Houston, 599

F. App’x 553, 554 (5th Cir. 2015). A party may move for judgment on the pleadings any time

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after “pleadings are closed–but early enough not to delay trial.” Fed. R. Civ. P. 12(c). “A motion

for judgment on the pleadings under Rule 12(c) is subject to the same standard as a motion to

dismiss under Rule 12(b)(6).” Ackerson v. Bean Dredging LLC, 589 F.3d 196, 209 (5th Cir. 2009).

     Although the court must accept all well-pleaded facts in the pleadings as true, a plaintiff must

allege “enough facts to state a claim to relief that is plausible on its face.” Doe v. MySpace, Inc.,

528 F.3d 413, 418 (5th Cir. 2008) (evaluating a Rule 12(c) motion). A claim “has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Bosarge v. Miss. Bureau of

Narcotics, 796 F.3d 435, 439 (5th Cir. 2015) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

“A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a

cause of action will not do.’” Id. (quoting Iqbal, 556 U.S. at 678). “In considering a motion for

judgment on the pleadings under Rule 12(c), the court is generally limited to the contents of the

pleadings, including attachments thereto.” Id. at 440 (internal quotation marks and citation

omitted). But a court may also consider those documents that are incorporated by reference into

the complaint without converting the motion into one for summary judgment. Id.

                                      IV.     ARGUMENT

A.     Counts I and II: Alta Fails to Plead a Viable Contract and Tort Claim against GE
       under Joint-Venture, Partnership or Agency Theories of Liability

       Alta alleges three theories by which it seeks to hold GE liable for WattStock’s alleged

breach of contract or tortious conduct: partnership, joint-venture, and agency. But Alta does not—

and cannot—plausibly allege that GE and WattStock had a partnership, joint-venture, or agency

relationship. All of Alta’s claims should be dismissed.

       1.      Alta Has Failed to Plausibly Plead a Joint-Venture or Partnership between GE
               and WattStock.




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         To determine whether a joint venture or partnership has been created under Texas law,

courts employ a five-factor test, asking whether each participant in the alleged joint venture or

partnership: (1) shares in the profits of the business, (2) has expressed intent to be a partner, (3)

has the right of control, (4) shares in the losses or liabilities, and (5) has contributed money or

property to the business. Ingram v. Deere, 288 S.W.3d 886, 895 (Tex. 2009) (citing Tex. Bus.

Orgs. Code § 152.052).            No single factor is dispositive; courts assess the “totality of the

circumstances.” Id. at 898.

         When a party offers evidence of just one factor, that “normally will be insufficient to

establish the existence of a partnership” or joint venture. Id. The party asserting the partnership

or joint venture has the burden of proving its creation. Derrick Petroleum Servs. v. PLS, Inc.,

CIV.A. H-14-1520, 2014 WL 7447229, at *3 (S.D. Tex. Dec. 31, 2014). Where, as here, a party

claims that a putative partner is estopped from denying the existence of a partnership based on its

representations to others, courts consider the factors noted above in determining whether that

party’s reliance on the representation was reasonable. See id. at *14.

         Alta has failed to plausibly allege even a single factor suggesting a joint venture or

partnership between GE and WattStock.1 Starting with the first and third factors—that the parties

shared profits and control of the entity, which are considered the “two most important” for

partnership formation—Alta’s allegations fall woefully short. Bowgene Fluidics, Inc. v. Alfa Laval

Dortmund GmbH, CV H-11-2414, 2012 WL 13042501, at *4 (S.D. Tex. Mar. 22, 2012). For

instance, on the profits factor, Alta does not (and cannot) even try to claim that WattStock and GE



1
         While Alta offers no factual allegations on most of the partnership factors, it does assert bald legal
conclusions regarding the existence of a partnership. See APP33 (“GE partnered with WattStock, a group of former
GE executives.”). This is insufficient as a matter of law. Taylor v. Books A Million, Inc., 296 F.3d 376, 378 (5th Cir.
2002) (“[C]onclusory allegations or legal conclusions masquerading as factual conclusions will not suffice to prevent
a motion to dismiss.” (internal quotation and citation omitted)).



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“pooled their profits and then divided them among themselves or were entitled to an

accounting regarding each other’s profits.” Westside Wrecker Serv., Inc. v. Skafi, 361 S.W.3d 153,

166–67 (Tex. App.—Houston [1st Dist.] 2011, no pet.).

         With respect to the third factor—that each participant has an “equal right to control and

manage” the partnership, Ingram, 288 S.W.3d at 901—Alta undermines its own claim by alleging

that GE was in “complete control” of the relationship with WattStock. APP33; APP48 (stating in

a conclusory manner that “the language of the MOU shows GE controlled WattStock”). Even

accepting this conclusory allegation as true—which would be inappropriate under Iqbal—

“complete control” by GE would actually negate the existence of any joint venture or partnership.2

See, e.g., In re Cavu/Rock Properties Project I, LLC, 516 B.R. 414, 419 (Bankr. W.D. Tex. 2014)

(ruling that a party had not established existence of partnership where there was some evidence

that one party exercised “some control over certain aspects of the business,” but that its control

was “limited and less extensive” than its putative partner), aff’d, 530 B.R. 349 (W.D. Tex.

2015), aff’d, 637 F. App’x 123 (5th Cir. 2016).

         If that were not enough, Alta also admits that GE’s and WattStock’s MOU expressly states

that the parties “do not intend this MOU to create any partnership, corporation, agency or fiduciary

relationship among them. Neither party shall have the right or power to bind the other party

without the written consent of such other party.” APP25. In Bowgene, a court interpreted similar

language in which the parties’ agreement stated that “[n]either Bowgene or Anderson, or its

employees or representatives may make commitments of any type that would be binding on the




2
          Alta does not allege that WattStock exercised any control over the alleged joint venture or partnership, and
it certainly does not allege the type of control necessary under Texas law, such as the ability to write checks on the
business’s checking account, control or access its books, exercise authority over its operations, or receive and manage
all of the business assets or monies. Cf. Ingram, 288 S.W.3d at 901; accord Derrick Petroleum, 2014 WL 7447229,
at *15 (collecting Texas case law).


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second party. . . without the express written consent of the second party.” 2012 WL 13042501, at

*4. The court ruled, based on this language, that the “control factor clearly weighs against the

existence of a partnership.” Id. (granting 12(b)(6) motion for claim premised on existence of

partnership). The same is true here.

        On the fourth and fifth factors, Alta offers nothing.               Alta’s complaint contains no

allegations that GE and WattStock agreed to, or actually did, share losses or liabilities (factor four)

or contribute money or property to the alleged joint venture or partnership (factor five). The mere

fact that GE and WattStock are alleged to have each performed a role in the Alta project does not

satisfy the requirement that each have contributed “money or property” to a joint venture, as “every

business relationship inherently requires businesses to work together.” Bowgene, 2012 WL

13042501, at *3–4.

        Alta does not allege any facts satisfying four of the five factors that this Court must consider

to determine the existence of a joint venture or partnership, and its claims against GE based on

these theories of liability should thus be dismissed. See, e.g., id. (dismissing breach-of-fiduciary-

duty claim premised on existence of partnership). Although Alta attempts to allege that GE and

WattStock “expressed intent to be partners” (factor three), “normally [this factor alone is]

insufficient to establish the existence of a partnership.” Ingram, 288 S.W.3d at 898. The Texas

Supreme Court has made clear that “[t]he terms used by the parties in referring to the arrangement

do not control, and merely referring to another person as ‘partner’ in a situation where the recipient

of the message would not expect the declarant to make a statement of legal significance is not

enough.” Id. at 900. Courts have consistently applied this rule,3 particularly “because the term



3
         See Westside Wrecker, 361 S.W.3d at 170; accord Derrick Petroleum, 2014 WL 7447229, at *14; Stephens
v. Three Finger Black Shale Partn., 580 S.W.3d 687, 711 (Tex. App.—Eastland 2019, no pet.); Hoss v. Alardin, 338



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‘partner’ is regularly used in common vernacular and may be used in a variety of ways.” Westside

Wrecker, 361 S.W.3d at 170. What matters is not only what was said, but also “the context in

which the statement was made, and the identity of the speaker.” Id. Colloquially using the term

“partners” to describe a business relationship—without taking any action consistent with forming

a legal partnership—is insufficient as a matter of law.

        In Ingram, for example, the Texas Supreme Court refused to find the existence of a

partnership despite a putative partner stating that “this was a joint venture, or that we were partners,

or we were doing this together” because the business did not change its name, the party claiming

the existence of a partnership did not sign legal documents on behalf of the business, neither party

filed taxes as a partner, and the parties maintained separate insurance. 288 S.W.3d at 901; see also

Westside Wrecker, 361 S.W.3d at 170 (holding that the parties’ references to each other as partners

were legally irrelevant where they took none of actions identified in Ingram as consistent with

forming a legal partnership). Alta does not allege that GE or WattStock took any of the actions

that Ingram makes clear are prerequisites to establishing an intent to form a joint venture or

partnership. Alta cannot allege that GE and WattStock changed their names or registered an

assumed partnership name, opened a bank account together or gave each other signatory authority

over their own bank accounts, obtained partnership insurance, or filed partnership tax returns. In

fact, WattStock’s Schedules of Assets and Liabilities, which was filed under oath under penalty of

perjury, list GE as a creditor, not a joint-venture partner (Dkt. 49). Similarly, WattStock’s

Statement of Financial Affairs requires disclosure of business relationships like partnerships and

a list of who has control over WattStock’s bank accounts, but it does not list GE (Dkt. 50). This



S.W.3d 635, 644–45 (Tex. App.—Dallas 2011, no pet.); AIG Risk Mgmt,. Inc. v. Motel 6 Operating L.P., 960 S.W.2d
301, 307 (Tex. App.—Corpus Christi 1997, no pet.).



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Court may take judicial notice of these bankruptcy filings. See In re Soporex, Inc., 446 B.R. 750,

764 n.12 (Bankr. N.D. Tex. 2011) (noting that the “Court is permitted to take judicial notice of

documents filed in the bankruptcy case”).

          Alta’s allegations, viewed individually or collectively, reflect nothing more than GE and

WattStock colloquially referring to themselves as partners. Under Ingram, that is not enough. 288

S.W.3d at 898. Even so, for the reasons explained in the chart that follows, none of the five alleged

statements would allow this Court to reasonably infer the existence of a partnership.

                 Alta’s Allegation                                    Legal Defect

    “GE and WattStock work ‘hand-in-hand’ as         This statement does not plausibly support an
    ‘partners’ to provide the ‘TRUEpackageTM’ or     inference that both WattStock and GE
    Certified Turbine Power—CTPTM system,            intended to create a partnership. Alta cites
    ‘[t]he only authorized OEM [original             two websites in its footnotes, but only one
    equipment manufacturer] certified preowned       says anything about working “hand-in-hand”
    package offering in the industry.’” APP33 &      and being “partners”—WattStock’s website.4
    nn.1-2.                                          That is not enough. See Hoss, 338 S.W.3d at
                                                     644; Westside Wrecker, 361 S.W.3d at 168.

    “Consistent with their relationship, GE and      This bare allegation in no way suggests these
    WattStock held themselves out publicly and       statements were made “in a situation where
    privately as ‘partners’ both orally and in       the recipient of the message would . . . expect
    writing.” APP33.                                 the declarant to make a statement of legal
                                                     significance.” Ingram, 288 S.W.3d at 900.

    “During these meetings, GE and WattStock         Alta offers no allegations suggesting that the
    described themselves as ‘partners.’ GE made      term “partner” was used in more than a
    it clear that the only way Alta Power could      colloquial sense. See Super Starr Int’l, LLC
    obtain the TRUEpackageTM equipment               v. Fresh Tex Produce, LLC, 531 S.W.3d 829,
    certification and warranty was by working        840 (Tex. App.–Corpus Christi 2017, no pet.)
    with the GE and WattStock partnership.”          (evidence that parties referred to a “proposed
    APP35.                                           partnership” and spoke of how they had
                                                     enjoyed a “good partnership” over the years


4
          The GE webpage Alta cites lacks any statements referring to WattStock as a “partner,” nor does
it state that GE was working “hand-in-hand” with WattStock. This is true of the website as it is in
February 2022, as it was when the Petition was filed in February 2021, and at times previous to the
Petition being filed. See APP33 n.1; APP4–APP17. And in any case, even if GE had, in some
unspecified context, referred to how WattStock was a “partner” and that it was working “hand-in-hand”
with WattStock, these statements without more would be insufficient as a matter of law to establish an
intent to enter a partnership. Ingram, 288 S.W.3d at 898.


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                                                           was insufficient because “the parties’ use of
                                                           the term ‘partner’ was colloquial, not legal”).

    “As part of its due diligence, Deutsche Bank           At most, this reflects that WattStock expressed
    requested a meeting with WattStock.                    an intent that GE and WattStock be
    WattStock met with Deutsche Bank and                   considered partners, which is not sufficient.
    during these meetings, WattStock confirmed             See Hoss, 338 S.W.3d at 644 (“[T]here must
    that GE and WattStock were ‘partners.’”                be evidence that both parties expressed their
    APP42 (emphasis added).                                intent to be partners.”); Westside Wrecker,
                                                           361 S.W.3d at 168 (“Skafi and Cannon’s
                                                           printed statement on checks is evidence of
                                                           their own intent to be partners but is not
                                                           evidence that Westside expressed an intent to
                                                           be partners.”).

    “Deutsche Bank formally asked GE to                    The letter, which is incorporated by reference
    provide appropriate assurances. On July 31,            into Alta’s complaint, Dorsey v. Portfolio
    2019, GE responded to this request in a letter         Equities, Inc., 540 F.3d 333, 338 (5th Cir.
    confirming that if WattStock failed to meet its        2008), flatly contradicts Alta’s assertions, as
    contractual obligations, GE would step in              it states GE and WattStock agreed to “work
    since GE and WattStock are partners in this            together to refurbish previously owned aero-
    venture.” APP42–APP43.                                 derivative power units” and “WattStock
                                                           would take the lead, and GE will perform
                                                           engineering and engine overhaul work as
                                                           subcontractor to WattStock.”5 APP18.


          Finally, the MOU that Alta repeatedly references plainly contradicts its claim that

WattStock and GE intended to create a joint venture or partnership. Courts consider the language

of an MOU in determining whether a partnership has been formed. See, e.g., Derrick Petroleum,

2014 WL 7447229, at *14. While Alta asserts in a conclusory manner that the MOU’s language



5
         With this context, the only plausible inference that may be drawn from GE’s statement that it could “assume
responsibility to complete any outstanding work, subject to several considerations” if “WattStock fail[s] to meet its
contractual obligations” is that GE had the capacity to perform the role of either being the prime contractor or
subcontractor for these transactions and could consummate the transaction if WattStock failed to perform as the prime
contractor—“subject to several considerations.” Contrary to Alta’s description of the letter, GE did not provide a
blank-check commitment to step in no matter what if WattStock failed to perform. It stated that the considerations
for whether GE could step in would likely include, among others, “(1) the absence of any legal or access issues; (2)
GE and Alta being able to agree to a revised scope of work, associated cost, and terms and conditions, (3) GE’s
assessment that there are no insurmountable engineering or manufacturing issues, and (4) any applicable Purchase
Orders or Change Orders should be modified and reassigned to GE.” Id. Thus, the letter does not support Alta’s
assertion that GE expressed an intent to form a partnership, and instead reflects that GE accurately described how GE
and WattStock were working together on these types of deals and GE could step in if certain conditions were met.


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in paragraph 6(b) expressly disclaiming any partnership is a “sham or subterfuge designed to

conceal the true legal status of GE/WattStock” and that unspecified “extrinsic evidence shows

actual control by GE over WattStock,” APP48, this Court must credit the parties’ words for what

they say—that WattStock and GE never created any partnership—notwithstanding Alta’s

threadbare allegations to the contrary. See In re Cavu, 516 B.R. at 419 (noting among evidence

negating the existence of a partnership that the parties’ agreement stated, “[n]othing in this

Agreement shall be construed, deemed or interpreted by the parties or by any third person to create

the relationship of principal and agent or of partnership, joint venture or any other association other

than that of debtor-creditor between the parties.”).

       Even if the MOU had stated an intent to form a partnership, such language would not be

dispositive. See Derrick Petroleum, 2014 WL 7447229, at *14 (concluding that even an MOU

that explicitly referred to the parties as “joint venture partners” was insufficient evidence of an

intent to create a partnership considering the broader context of the parties’ relationship). In

Derrick Petroleum, as here, the parties did not take any other actions consistent with the intent to

form a partnership, and the court found that the reference to “partners” was not enough. Id. at *18.

       2.      Alta Has Failed to Plausibly Allege that GE Is Liable under an Agency Theory.

       Alta’s claim that GE is liable for WattStock’s torts and breaches under theories of actual

or ostensible agency fare no better. The “two essential elements” of an actual agency relationship

are “[a]uthority to act on the principal’s behalf and control.” Exxon Mobil Corp. v. Rincones, 520

S.W.3d 572, 589 (Tex. 2017). “[T]he key question is whether the principal has the right to control

the agent with respect to the details of that conduct.” Id. A right of control “requires more than a

general right to order the work stopped or resumed, to inspect its progress or to receive reports, to

make suggestions or recommendations which need not necessarily be followed, or to prescribe



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alterations and deviations . . . . There must be such a retention of a right of supervision that the

contractor is not entirely free to do the work in his own way.” Emtel, Inc. v. Lipidlabs, Inc., 583

F. Supp. 2d 811, 837 (S.D. Tex. 2008). “Agency is not presumed; a party alleging the existence

of an agency relationship bears the burden of proving it.” Exxon, 520 S.W.3d at 589. And a third

party’s “good faith belief” that a person with whom it is dealing is the agent of another is not

enough to hold the purported principal liable for the agent’s actions. 2616 S. Loop LLC v. Health

Source Home Care, Inc., 201 S.W.3d 349, 356 (Tex. App.—Houston [14th Dist.] 2006, no pet.).

        Alta has failed to allege facts sufficient to establish the “control” element of agency, and

accordingly, its claims for vicarious liability as to WattStock’s alleged breaches and torts fail as a

matter of law. As explained above, at most, Alta asserts unadorned legal conclusions that “GE

controlled WattStock” and was in “complete control” of the relationship. APP33, APP48.6 But

these assertions are “mere labels and conclusions, which are insufficient to plausibly plead a

claim.” Davidson v. AT&T Mobility, LLC, 3:17-CV-0006-D, 2018 WL 4075722, at *4 (N.D. Tex.

Aug. 27, 2018) (dismissing complaint where agency allegations included such statements as that

“AT&T was able to control . . . and did control . . . the actions of Defendant” and that the defendant

was “‘working’ for AT&T in his capacity as an agent”). To support this threadbare legal

conclusion, Alta alleges that GE was granted the “right under its MOU with WattStock to force

WattStock to sell GE any gas turbine purchased pursuant to the TRUEpackageTM program.”

APP51. But Alta quotes no such provision in the MOU, and in fact, there is none. Rather, the

MOU indicates that WattStock’s role in the relationship is to “purchase, refurbish and res[ell]

existing LM2500 and LM6000 Gas Turbines,” and it clarifies that it “is not intended to bind either



6
         Alta also offers the unsupported statement that “extrinsic evidence also shows actual control by GE over
WattStock.” APP48. What this “extrinsic evidence” is remains unstated, and this conclusory allegation cannot
establish an agency relationship.


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Party to sell any equipment, parts or services to the other” at all. APP22. Alta does not and cannot

point to anything in the MOU giving GE the right to supervise or direct WattStock’s work or

dictate how it must complete any of its required tasks. And Alta does not allege that GE had the

“right to order the work [WattStock performed] stopped or resumed, to inspect its progress or to

receive reports, to make suggestions or recommendations which need not necessarily be followed,

or to prescribe alterations and deviations”—a level of control that itself is insufficient to establish

an agency relationship. Emtel, 583 F. Supp. 2d at 837.

        Alta’s alternative theory of ostensible agency likewise is inadequately pleaded. “To

establish a claim of ostensible agency, a plaintiff must show that (1) he had a reasonable belief in

the agent’s authority, (2) his belief was generated by some holding out by act or neglect of the

principal, and (3) he was justified in relying on the representation of authority.” Valdez v. Pasadena

Healthcare Mgmt., Inc., 975 S.W.2d 43, 46 (Tex. App.—Houston [14th Dist.] 1998, no pet.). In

determining whether such a claim is established, “only the conduct of the principal is relevant.”

Gaines v. Kelly, 235 S.W.3d 179, 182 (Tex. 2007). The standard is that of a “reasonably prudent

person, using diligence and discretion to ascertain the agent’s authority,” and thus the court must

“examine the conduct of the principal and the reasonableness of the third party’s assumptions

about authority.” Id. at 183.

        Alta’s claims fall far short of satisfying this standard. Alta alleged only that GE called

WattStock its “partner” and represented that WattStock was its “Authorized Service Provider.”7


7
          Alta argues that “GE is estopped from denying liability for WattStock’s breaches and torts” because Alta
“justifiabily [sic] relied on the[] representations” that GE and WattStock were “partners.” APP47–APP48. But Texas
law does not support estoppel here. See Derrick Petroleum, 2014 WL 7447229, at *14 (rejecting defendant’s estoppel
argument because defendant was “experienced in business and presumed to know Texas law,” so “[t]heir reliance on
a representation that the parties were partners was not reasonable”). As an entity formed to service the Texas energy
market, APP28–APP29, Alta is charged with the knowledge of Texas law on partnerships and agency, and its reliance
on statements that were not made in a context of legal significance renders its reliance on GE’s alleged assurances
unreasonable and insufficient, as a matter of law, to establish estoppel.



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APP47. But it is unclear how these allegations support a reasonable belief that GE held out

WattStock as its agent as opposed to its business counterpart. In Doe v. YUM! Brands, Inc., the

court rejected a similar attempt to conflate evidence suggesting only a business relationship

between two entities as supporting an ostensible agency. 01-19-00844-CV, 2021 WL 5113021, at

*14 (Tex. App.—Houston [1st Dist.] Nov. 4, 2021) (holding that “under Texas law, evidence of a

relationship does not by itself evidence an agency relationship”). Here, Alta offers no facts

supporting that a “reasonably prudent person” in the position of signing a multimillion-dollar deal

and “using diligence and discretion to ascertain the agent’s authority” would reasonably rely on

the facts as alleged here to conclude that WattStock was GE’s agent. In sum, Alta’s ostensible

agency theory fails for the same reason as its partnership and joint-venture theories: It is

unreasonable as a matter of law for Alta to have concluded that GE was WattStock’s principal as

opposed to its business counterpart. Accordingly, Alta’s claims based on ostensible agency fail,

and GE is not estopped from denying liability for WattStock’s breaches and torts.

B.     Alta Has Failed to Plausibly Allege a Claim for Unjust Enrichment (Count IV)

       To survive a Rule 12(c) motion on an unjust-enrichment claim, a plaintiff must plead facts

sufficient to lead to the plausible inference that the defendant “obtained a benefit from [the

plaintiff] by fraud, duress, or the taking of an undue advantage.” Sullivan v. Leor Energy, L.L.C.,

600 F.3d 542, 550 (5th Cir. 2010).

       Alta’s complaint purports to state a claim for $1.5 million against GE, but the facts needed

to support its claim are absent. The unjust-enrichment count consists of three sentences that simply

state that all prior paragraphs are incorporated into the count, that “GE has been unjustly enriched

in the amount of $1.5 million to the detriment of Alta Power,” and that “Alta Power demands

restitution of all amounts GE has been [un]justly enriched.” APP49. The $1.5 million seems to

reference the same amount that appears just before the unjust-enrichment count in which Alta

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vaguely alleges that “Alta Power paid GE/WattStock $1.5 million related to the Nuh Cemento

project for GE to acquire long-lead hardware, start engineering activities, and deliver preliminary

drawings.” APP49. If this is the basis of the figure, Alta has failed to plausibly plead a claim for

unjust enrichment for two reasons.

       First, Alta has not plausibly alleged that GE engaged in any wrongful conduct related to

the $1.5 million. Indeed, Alta does not allege any conduct, wrongful or not, by GE at all related

to the $1.5 million. Second, Alta fails to plausibly allege that GE, as opposed to WattStock,

obtained the $1.5 million benefit. Instead, Alta simply lumps GE and WattStock together, and

alleges that “GE/WattStock” were paid $1.5 million. APP49. This allegation is impermissibly

vague and insufficient to survive dismissal. See Guerrero v. Taylor Cnty., Tex., 17-CV-050, 2018

WL 1033261, at *2 (N.D. Tex. Feb. 23, 2018) (noting that complaint failed to “reach the level of

plausible pleading” where certain allegations lumped multiple defendants together).

C.     Alta Has Not Stated a Claim for Fraud or Negligent Misrepresentation (Count VII
       and Count VIII)

       1.      Alta Did Not Plead Fraud with Particularity as Required under Federal Rule
               of Civil Procedure 9(b).

       Alta’s pleadings do not meet the baseline plausibility pleading standard, much less the

heightened pleading requirement for fraud claims under Federal Rule of Civil Procedure 9(b). To

establish a claim for fraudulent inducement, plaintiffs must show: (1) a material misrepresentation;

(2) that was false and either known to be false at the time made or made without knowledge of the

truth; (3) that was intended to be and was relied upon by the injured party; and (4) that the injured

party’s reliance caused its injury. IAS Servs. Grp., LLC v. Buckley & Assocs., Inc., 900 F.3d 640,

647 (5th Cir. 2018).




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       Rule 9(b) requires that plaintiffs plead facts establishing those elements with particularity.

Fed. R. Civ. P. 9(b); Fed. R. Bankr. P. 7009 (applying Rule 9(b) to bankruptcy proceedings). “This

Circuit’s precedent interprets Rule 9(b) strictly, requiring the plaintiff to specify the statements

contended to be fraudulent, identify the speaker, state when and where the statements were made,

and explain why the statements were fraudulent.” Flaherty & Crumrine Preferred Income Fund,

Inc. v. TXU Corp., 565 F.3d 200, 207 (5th Cir. 2009) (internal quotation omitted). The requirement

for specificity extends to the scienter element as well. “The complaint must thus set forth specific

facts supporting an inference of fraudulent intent.” Ibe v. Jones, 836 F.3d 516, 525 (5th Cir. 2016).

This “requires more than a simple allegation that a defendant had fraudulent intent.” Andres

Holding Corp. v. Villaje Del Rio, Ltd., Nos. 09-cv-127, 09-cv-268, 2011 WL 3444010, at *3 (W.D.

Tex. Aug. 8, 2011) (internal quotation omitted).

       Further, both the Fifth Circuit and this district have held that to satisfy Rule 9(b), “[p]arties

cannot merely ‘lump all defendants together.’” United States ex rel. Capshaw v. White, 12-cv-

4457, 2018 WL 6068806, at *4 (N.D. Tex. Nov. 20, 2018) (quoting In re Parkcentral Glob. Litig.,

8884 F. Supp. 2d 464, 470 (N.D. Tex. 2012)). “There has to be some work that segregate[s] the

alleged wrongdoing of one from another.” Id. (quoting Parkcentral, 884 F. Supp. 2d at 471); see

also United States ex rel. Hebert v. Dizney, 295 F. App’x 717, 722 (5th Cir. 2008) (upholding

dismissal where relators “made broad claims against numerous defendants without identifying

specifications of specific individuals at specific times that would constitute fraud against the

government” (internal quotation omitted)).

       Alta falls short on each of these requirements. Alta alleges that at some point during

meetings with Alta and WattStock, GE represented that it was “partners” with WattStock. But

Alta never identifies the GE representative who made such statements or when the representations



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were made. Likewise, while Alta alleges that GE represented it would “stand behind” WattStock,

it does not provide any details regarding who made that statement or when or where it was made.

Alta also does not plead any facts supporting a reasonable inference of scienter—it just offers

generic assertions of bad intent.     And Alta’s fraud pleadings impermissibly lump GE and

WattStock together as “GE/WattStock,” leaving GE without notice of the specific allegations

supporting Alta’s fraud-based claim against it. Alta’s bare-bones pleadings simply restate the

elements of fraud and fail to distinguish between parties. This is insufficient to satisfy Rule 9(b).

       2.      Alta’s Negligent Misrepresentation Claim Is Insufficiently Pleaded.

       While Rule 9(b) generally does not apply to negligent misrepresentation claims, courts

have recognized an exception if the plaintiff has simply alleged that its fraud allegations support

its negligent misrepresentation claim and the court cannot easily strip out the inadequate

allegations of fraud. Am. Realty Trust, Inc. v. Travelers Cas. and Sur. Co. of Am., 362 F. Supp. 2d

744, 750–52 (N.D. Tex. 2005). In other words, Rule 9(b) applies to negligent misrepresentation

claims—like the one in this case—that are “based on the same set of alleged facts” as the fraud

claim. Benchmark Elecs., Inc. v. J.M. Huber Corp., 343 F.3d 719, 723 (5th Cir. 2003), modified

on denial of reh’g, 355 F.3d 356 (5th Cir. 2003) (negligent misrepresentation claim must satisfy

Rule 9(b)); see also Nazareth Int’l, Inc. v. J.C. Penney Corp., Inc., No. 304-cv-1265, 2005 WL

1704793, at *3 (N.D. Tex. July 19, 2005). Rule 9(b)’s heightened pleading standard applies here

because Alta’s negligent misrepresentation claim is inextricably intertwined with its fraud

allegations.

       To support its negligent misrepresentation claim, Alta simply “incorporates each of the

foregoing paragraphs [in its complaint] by reference.” APP52. The allegations of fraud are so

intertwined in the factual pleadings that the court would be required to engage in a “line-by-line



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redaction” in a dismissal order to divine which statements cannot be used in support of the

negligent misrepresentation claim.     Am. Realty Trust, 362 F. Supp. 2d at 752.           Because

modification of a complaint by such a complex order “is unlikely to provide the defendant with a

simple, concise, and direct statement of allegations it faces, as required by the Federal Rules,”

dismissal is appropriate. Id.

D.     Alta’s Fraud And Negligent Misrepresentation Claims Are Also Legally Barred
       (Count VII and Count VIII)

       1.      Alta’s Fraudulent Inducement and Negligent Misrepresentation Claims Fail
               because Alta’s Reliance Is Unjustified as a Matter of Law.

       Alta’s fraudulent inducement and negligent misrepresentation claims also fail for a separate

reason: Alta’s reliance is unjustifiable as a matter of law under the facts as alleged. The Texas

Supreme Court recently clarified that reliance may be unjustifiable as a matter of law in two

circumstances: (a) where the parties’ contract expressly contradicts the alleged representation, or

(b) where red flags should have alerted the plaintiff that a statement was incorrect. JPMorgan

Chase Bank, N.A. v. Orca Assets G.P., LLC, 546 S.W.3d 648, 654–55 (Tex. 2018).

       While GE is not party to any contract with Alta, the Alta-WattStock contracts were a

glaring “red flag” that should have alerted a sophisticated entity, like Alta, that was engaged in a

multimillion-dollar transaction not to rely on GE’s alleged representations as Alta interpreted

them. Alta alleges that it would not have entered into the contracts with WattStock without

assurances that GE and WattStock were “partners” and that GE would “stand behind” WattStock.

APP47, APP50. But reliance on GE’s alleged assurances is not justified as a matter of law because

the plain language of the Alta-WattStock contracts contradicts any claims of reliance and should

have put Alta on notice that such reliance would be unreasonable. See Mercedes-Benz USA, LLC




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v. Carduco, Inc., 583 S.W.3d 553, 559 (Tex. 2019) (reliance on a misrepresentation “that the

written contract directly and unambiguously contradicts” is a “red flag”).

       At the outset, the Alta-WattStock Master Agreement states that it is a contract between

Alta and WattStock—by its express terms, the scope of the agreement is limited to those parties

and does not include GE. And Alta admits that GE refused to contract with it. APP36. These

facts directly contradict any suggestion that GE and WattStock were legal partners or that GE was

party to the Alta-WattStock agreements. And, at minimum, these facts should have caused Alta

to investigate the legal status of any relationship between GE and WattStock, which would have

confirmed what the Alta-WattStock agreements make clear by their plain terms. For instance, the

MOU expressly disclaims any partnership or agency relationship between these entities. Orca

Assets G.P., LLC, 546 S.W.3d at 654 (“[W]hen a party fails to exercise such diligence, it is charged

with knowledge of all facts that would have been discovered by a reasonably prudent person

similarly situated.”). Alta cannot plausibly claim that it justifiably relied on alleged oral statements

by GE during sales meetings while turning a blind eye to these red flags.

       In any event, the plain terms of the Alta-WattStock agreements, which contain a merger

clause, also render Alta’s alleged reliance on oral statements by WattStock or GE unreasonable.

The merger clause makes clear that “[a]ny oral or written communication . . . not contained or

referenced herein shall not be binding on either Party” and “[e]ach Party agrees that it has not

relied on, or been induced by, any representations of the other Party not contained in the Contract.”

See APP104 (“The Contract represents the entire agreement between the Parties with respect to

the Work, and supersedes in its entirety all prior agreements concerning the subject matter hereof

. . . .”). So Alta’s fraudulent inducement and negligent misrepresentation claims fail as a matter

of law. Armstrong v. Am. Home Shield Corp., 333 F.3d 566, 571 (5th Cir. 2003) (“[A] fraud claim



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can be negated where a merger clause evinces a party’s clear and unequivocal expression of intent

to disclaim reliance on specific representations.”).

       2.      Alternatively, the Economic-Loss              Rule     Bars     Alta’s    Negligent
               Misrepresentation Claim.

       Even if Alta could plausibly allege justifiable reliance, the economic-loss rule bars its

negligent misrepresentation claim. Under well-settled Texas law, parties may not raise tort-based

theories when their claims sound in contract. This doctrine, known as the economic-loss rule,

generally precludes recovery in tort for economic losses resulting from the failure of a party to

perform under a contract. Formosa Plastics Corp., USA v. Presidio Eng’rs and Contractors, Inc.,

960 S.W.2d 41, 43 (Tex. 1998). The economic-loss rule dictates that when the plaintiff’s only

alleged harm is an economic loss caused by the defendant’s failure to perform a contract, the

defendant has breached a contractual duty, not a tortious one. Jim Walter Homes, Inc. v. Reed,

711 S.W.2d 617, 618 (Tex. 1986); see also Sw. Bell Tel. Co. v. DeLanney, 809 S.W.2d 493, 494–

95 (Tex. 1991). As such, “[t]he focus of the rule ‘is on determining whether the injury is to the

subject of the contract itself.’” Acad. of Skills & Knowledge, Inc. v. Charter Schs., USA, Inc., 260

S.W.3d 529, 541 (Tex. App.—Tyler 2008, pet. denied) (quoting Lamar Homes, Inc. v. Mid-

Continent Cas. Co., 242 S.W.3d 1, 12 (Tex. 2007)).

       Negligent misrepresentation is one class of tort claim subject to the economic-loss rule.

D.S.A., Inc. v. Hillsboro Indep. Sch. Dist., 973 S.W.2d 662, 663 (Tex. 1998) (per curiam). To

determine whether a specific party’s claims are barred, courts ask whether the claims are based on

a duty and an injury independent from a contract. Cass v. Stephens, 156 S.W.3d 38, 68–69 (Tex.

App.—El Paso, 2004, pet. denied). The nature of the injury is often determinative, and when “the

injury is only the economic loss to the subject of a contract itself, the action sounds in contract

alone.” Formosa Plastics Corp., 960 S.W.2d at 45 (emphasis added) (internal quotation omitted).


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So the question is whether Alta’s negligent misrepresentation claim arises directly from the subject

of a contract. Alta’s pleadings reveal that it does.

        Here, Alta points to no tort duty that arises independent of the Alta-WattStock contracts.

GE’s alleged misrepresentations—regarding the pricing and quality of turbines, process for

acquiring them, and its relationship to the entity acquiring the turbines—fall squarely within the

subject of Alta’s contracts with WattStock. See Zamora-Garcia v. Moore, 2006 WL 2663802, at

*12 (S.D. Tex. Sept. 15, 2006) (dismissing negligent misrepresentation claims because plaintiffs

“request[ed] identical damages for their breach of contract and negligent misrepresentation claims”

and thus “failed to allege an injury independent of their damages for breach of contract”); Jim

Walter Homes, Inc., 711 S.W.2d at 618 (“When the injury is only the economic loss to the subject

of a contract itself,” the plaintiff cannot proceed with a negligence or fraud cause of action.).

        Even assuming that Alta had alleged that GE owed a duty independent of the contract that

Alta seeks to enforce against GE, the Court still may find that the “tort claim is merely a

repackaged breach of contract claim” if the claim seeks economic damages recoverable under

contract. Miller v. CitiMortgage, Inc., 970 F. Supp. 2d 568, 586–87 (N.D. Tex. 2013). Alta’s

negligent misrepresentation claim does exactly that. Indeed, Alta alleges the same damages for its

breach-of-contract claim and negligent misrepresentation claim (through an unjust enrichment

theory).8 For both claims, Alta is seeking $1.5 million in damages for funds it allegedly paid under

the Alta-WattStock Master Agreement and LNTP, and these damages flow from an alleged breach

of these contracts with WattStock.9




8
         At the state court hearing on GE’s 91(a) motion, Alta represented that its unjust enrichment claim was
intended to allege a form of remedy recoverable under its fraud and negligent-misrepresentation theories.
9
         For the same reason, Alta’s fraud claim is also barred by the economic loss rule. See, e.g., Payne v. Wells
Fargo Bank, N.A., 637 F. App’x 833, 837 (5th Cir. 2016); BCC Merch. Sols., Inc. v. Jet Pay, LLC, 129 F. Supp. 3d
440, 466–67 (N.D. Tex. 2015).


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       The fact that Alta is also seeking consequential and exemplary damages does not alter the

analysis. Courts have held that the economic-loss rule applies even when plaintiffs seek damages

“incurred in reliance on the alleged representations,” as long as plaintiffs are requesting economic

damages recoverable in contract. Miller, 970 F. Supp. 2d at 587; see also Acad. of Skills &

Knowledge, Inc, 260 S.W.3d at 541 (“[I]t is not the nature of the damages sought, but the nature

of the injury, here economic losses, that affects the applicability of the economic loss rule.”).

Because Alta’s negligent misrepresentation claim seeks to recover for economic loss flowing from

an alleged breach of Alta’s contracts with WattStock, its tort claim is barred. See, e.g., KIBO

Software, Inc. v. Pink Coconut Boutique, LLC, No. 17-cv-1196, 2018 WL 7286482, at *7 (W.D.

Tex. Nov. 19, 2018); Myers v. Bank of Am., N.A., No. 11-cv-457, 2012 WL 1107687, at *3 (E.D.

Tex. Mar. 31, 2012).

E.     Consequential Damages Are Not Recoverable as a Matter of Law

       1.      Alta Has Not Sufficiently Alleged Consequential Damages.

       Alta’s claims for consequential damages also fail as a matter of law, and should be struck

from the complaint, because Alta does not and cannot allege any facts to support recovery of such

damages. See Brown v. Aetna Life Ins. Co., No. 13-cv-131, 2013 WL 3442042, at *5 (W.D. Tex.

July 8, 2013) (granting motion to dismiss punitive damages requests that were statutorily barred);

see also Higher Perpetual Energy, LLC v. Higher Power Energy, LLC, No. 17-cv-0414, 2018 WL

3031780, at *7 (E.D. Tex. June 18, 2018) (holding pleadings insufficient where plaintiff did not

adequately allege damages). To recover consequential damages, a plaintiff must show that the

alleged misconduct “proximately caused the harm.” Blue Gordon, C.V. v. Quicksilver Jet Sales,

Inc., 444 F. App’x 1, 10 (5th Cir. 2011). “[I]t is not sufficient to show that [the plaintiff] would

not have entered into the Agreement if [the defendant] had not made the alleged misrepresentations



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or nondisclosures; that allegation goes to the element of reliance. Rather, [the plaintiff] must show

that [the defendant’s] misrepresentations or nondisclosures caused the injury [the plaintiff]

suffered.” Id. at 10–11. Alta’s complaint misses that mark.

       Here, Alta alleges generally that it “has wasted at least 10 million dollars” due to GE’s

alleged fraudulent inducement. But it offers no detail as to what generated those losses and makes

no factual allegation linking any of the alleged misrepresentations to these losses. While Alta

states that it could have contracted with other providers beside WattStock, it does not allege that

any competitors would have offered better prices than WattStock. Alta thus has not sufficiently

alleged facts that show any misrepresentations proximately caused consequential damages.

       2.      Alta Is Contractually Barred from Seeking Consequential Damages.

       Setting aside Alta’s pleading deficiencies, Alta’s claims for consequential damages are also

barred by the express terms of contracts it seeks to enforce against GE. Section 9.1(b) of the Alta-

WattStock Master Agreement provides in bolded, all-caps language that “neither Party, their

respective officers, directors, partners, employees, representatives, contractors or subcontractors

shall be liable to the other . . . for any incidental, indirect or consequential damages arising out of

or connected in any way to this agreement.” APP80 (emphasis added). GE contracted with

WattStock to sell parts, engineering, and related services for used aeroderivative gas turbines, and

as a contractor to WattStock, Section 9.1(b) bars Alta’s claims for consequential damages.

Moreover, Alta’s contention that GE and WattStock are “partners” also runs headlong into Section

9.1(b). Either way, Alta is contractually barred from seeking consequential damages against GE.

       Texas law permits commercial parties to contractually waive remedies, and courts

routinely enforce such provisions. See Bombardier Aerospace Corp. v. SPEP Aircraft Hldgs.,

LLC, 572 S.W.3d 213, 233 (Tex. 2019) (upholding contractual waiver of punitive damages and



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determining that defendant’s fraud did not vitiate agreement to limit damages). Alta cannot

premise its claims against GE on the Alta-WattStock contracts while simultaneously ignoring the

limitations in those contracts when it seeks damages. Because Alta expressly waived its right to

recover consequential damages, the Court should dismiss Alta’s claims for consequential damages

and strike any references to such damages from Alta’s complaint.

                                    V.     CONCLUSION

       Because Alta has not stated any legally cognizable claim against GE, GE asks that this

Court grant its 12(c) motion for judgment on the pleadings as to each of Alta’s claims against it

and as to Alta’s request for consequential damages.

 Dated: February 28, 2022
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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document has been served on counsel

of record pursuant to the Federal Rules of Civil Procedure.

                                              /s/ Eric T. Haitz
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                                              International, Inc.




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